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                              EXHIBIT B
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                                       EXHIBIT B
   4.     Pier B Owner is a Florida profit corporation with a principal place of business in

          Monroe County, Florida, and Pier B Owner owns the private property in the Port of

          Key West known as "Pier B."

   5.     Pier B entered into, and is subject to, prior regulations, development orders, and CCRs of

          the City of Key West, including but not limited to Resolution 93-405 and 99-457.

   6.     Pier B Owner entered into these regulations and limitations on the use of Pier B Owner's

          land for the operation of a cruiseport on Pier B.

   7.     The primary, and practically sole, economic value of the cruiseport of Pier B is to serve as

          a port of call for cruise ships.

   8.     Pier B is one of three docks at the Port of Key West that regularly accepts cruise ships, and

          it is the only privately-owned dock that accepts cruise ships.

   9.     Pier B Owner's disembarkation fees are based on the number of passengers on the

          manifests of the cruise ships that dock at Pier B; 25% of these revenues are provided to the

          City of Key West.

   10.    The Initiatives will extremely reduce the value of Pier B and result in a massive economic

          injury to Pier B Owner. The value of Pier B, pursuant to the Development Order with the

          City of Key West, is to provide dockage for cruise ships consistent with Pier B Owner's

          contractual obligations to the City of Key West to maximize revenues.

  11.     I declare under penalty of perjury that the foregoing is true and correct.

          Executed this 3rd day of August, 2020, in Delray Beach, Florida.



                                                 Mark Walsh

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